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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

KURT B. OLSEN,                               )
                                             )
                         Plaintiff,          )
v.                                           ) Case No._______________
                                             )
NANCY PELOSI, in her official capacity as    )
Speaker of the United States House of        )
Representatives;                             )
                                             )
BENNIE G. THOMPSON, in his official          )
capacity as Chair of the Select Committee    )
to Investigate the January 6th Attack on     )
the United States Capitol;                   )
                                             )
ELIZABETH L. CHENEY, in her official         )
capacity as a member of the United           )
States House of Representatives;             )
                                             )
ADAM B. SCHIFF, in his official capacity     )
as a member of the United States House       )
of Representatives;                          )
                                             )
JAMES B. RASKIN, in his official capacity    )
as a member of the United States House       )
of Representatives;                          )
                                             )
SUSAN E. LOFGREN, in her official capacity   )
as a member of the United States House       )
of Representatives;                          )
                                             )
ELAINE G. LURIA, in her official capacity    )
as a member of the United States House       )
of Representatives;                          )
                                             )
PETER R. AGUILAR, in his official capacity   )
as a member of the United States House       )
of Representatives;                          )
                                             )
STEPHANIE MURPHY, in her official            )
capacity as a member of the United States    )
House of Representatives;                    )
                                             )
ADAM D. KINZINGER, in his official           )
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capacity as a member of the United States )
House of Representatives; and             )
                                          )
SELECT COMMITTEE TO INVESTIGATE           )
THE JANUARY 6th ATTACK ON THE             )
CAPITOL OF THE UNITED STATES, a           )
body established by the United States     )
House of Representatives,                 )
                                          )
                           Defendants.    )
__________________________________________)

            COMPLAINT FOR DECLARATORY AND INJUCTIVE RELEIF

                                       INTRODUCTION

       Abuses of the investigative process may imperceptibly lead to abridgement of
       protected freedoms. The mere summoning of a witness and compelling him to
       testify, against his will, about his beliefs, expressions or associations is a measure
       of governmental interference. . . . Those who are identified by witnesses and
       thereby placed in the same glare of publicity are equally subject to public stigma,
       scorn and obloquy. Beyond that, there is the more subtle and immeasurable effect
       upon those who tend to adhere to the most orthodox and uncontroversial views and
       associations in order to avoid a similar fate at some future time.

Watkins v. United States, 354 U.S. 178, 197-98 (1957)

       1.     Plaintiff, Kurt B. Olsen, is an active attorney licensed to practice in Maryland and

Washington D.C. He was appointed Special Counsel to the Office of the Attorney General for the

State of Texas (“OAG”) to assist the OAG in representing the State of Texas in a suit before the

United States Supreme Court. The purpose of this suit was to prevent dilution of the electoral-

college votes of Texas in the 2020 Presidential election and uphold and enforce state and federal

election law. Texas v. Pennsylvania, et al, 141 S. Ct. 1230 (2020). Eighteen other States and 126

Members of Congress joined or filed amicus briefs supporting Texas in that action.

       2.     Among his other clients, Plaintiff also has an attorney-client relationship with

former President Trump; Mike Lindell, who is currently engaged in litigation with Dominion

Voting Systems, Inc. (“Dominion”); and proposed class representatives in a putative class action

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pending against Dominion. That class action alleges Dominion engaged in an illegal campaign of

intimidation and harassment against volunteer poll watchers and other Americans by threatening

to wage Lawsuit Warfare (“Lawfare”) against anyone who exposes or even speaks about fraud and

illegal voting activity in the November 2020 election.1

         3.      On March 1, 2022, Plaintiff received an email from the Senior Investigative

Counsel for the U.S. House Select Committee to Investigate the January 6th Attack on the U.S.

Capitol (the “Select Committee”) asking whether he would accept service via email of a subpoena

issued by Defendant Bennie G. Thompson, Chairman of the Select Committee. In the alternative,

the email stated that “If you are represented by counsel, please let me know his or her name and

contact information and we will reach out as soon as possible.” No subpoena was attached to that

email. The email is attached hereto as Exhibit 1.

         4.      Plaintiff’s counsel received the subpoena (the “Subpoena”) from the Select

Committee’s counsel on March 1, 2022. The Subpoena is attached hereto as Exhibit 2.

         5.      The Subpoena compels Plaintiff to appear for a deposition and to produce a

considerable number of documents that, among other things, unquestionably cover his provision

of legal assistance to clients, as well as documents pertaining to his personal and political affairs.

         6.      The Committee’s investigation was fundamentally flawed from the outset. The

resolution that established the Select Committee, House Resolution 503 (“H. Res. 503”),

demonstrates that the Select Committee had already reached a predetermined conclusion without

examination of the facts that those who attacked the Capitol on January 6, 2921, were “fueled by

false narratives.” H. Res. 503, Second Whereas Clause. That conclusion shows that the Select

Committee had reached a predetermined conclusion that claims of election fraud in the


1
    https://en.wikipedia.org/wiki/Lawfare.
                                                  3
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2020 election were false and that “false narratives” of election fraud contributed to the

violence at the Capitol. The Select Committee prejudged what logically should be the

central inquiry of its purported “investigation” – whether the claims of election fraud are

accurate. H. Res. 503 §4 (B)

       7.      The Select Committee has sought from the outset to report that President

Trump (and others) committed crimes.

       8.      As a consequence of this prejudgment, the Select Committee’s reports will lack

legitimacy and credibility because the central issue was predetermined before the Committee

began its investigation. That the investigation is a partisan exercise is also shown by the fact that

highly partisan Members appointed by Defendant Pelosi subscribed to that predetermined

conclusion and are in complete control of this investigation. All of the appointees had previously

voted to impeach President Donald Trump. Defendant Thompson has sued Mr. Trump for the

avowed purpose of punishing him for purported unlawful actions. Thompson v. Trump, No. 1:21-

cv-00400 (D.D.C. 2/16/21). Defendant Raskin had served as the lead manager for the House of

Representatives in the second impeachment trial of Mr. Trump. Defendant Cheney had submitted

a memorandum to her Republican colleagues in the House three days before the January 6, 2021,

attack arguing that claims of election fraud had been debunked without acknowledging strong

evidence to the contrary. The Cheney memorandum is attached as Exhibit 3.

       9.      The Select Committee never intended for its investigation to be a balanced inquiry

to determine the truth. An investigation with public hearings, subpoenas, and depositions devoted

to confirming a predetermined conclusion is reminiscent of Soviet “show trials” intended to

intimidate and silence political opponents.




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          10.    The Select Committee’s investigation is not an exercise to develop “legislative

facts.”

          11.    The Select Committee’s true -- and improper -- partisan purpose is also to

discourage, penalize, and criminalize speaking out about election fraud and/or illegal voting in the

November 2020 election. Indeed, just three weeks ago, the Select Committee argued in a court

filing that claiming that election fraud altered the result of the 2020 election could make one part

of a “criminal conspiracy to defraud the United States in violation of 18 U.S.C. § 371.”

Congressional Defendants’ Opposition to Plaintiff’s Privilege Assertions, Eastman v. Thompson,

No. 8:22-cv-00099, ECF No. 164-1 at 57 (C.D. Cal. 3/3/22) (“Eastman, 8:22-cv-00099, ECF No.

164-1 (C.D.Cal.)) They made that argument while ignoring clear evidence of outcome-

determinative election fraud and illegal voting in the November 2020 election available to them at

the time. Even since then additional evidence of election fraud continues to become public.

          12.    For example, the potential for fraud with mail-in voting is well-known. Indeed, the

2005 bipartisan Commission on Federal Election Reform concluded that “[a]bsentee ballots

remain the largest source of potential voter fraud.”2 In the 2020 Presidential election, according to

the Pew Research Center, a record number of votes—about 65 million—were cast via mail

compared to 33.5 million mail-in ballots cast in the 2016 general election—an increase of more

than 94 percent. Indiscriminate mail-in balloting was particularly prevalent in battleground states

such as Georgia, Michigan, Wisconsin, and Pennsylvania where non-legislative actors also

usurped their legislatures’ authority and unconstitutionally revised their state’s election statutes,

by disregarding the two strongest security measures designed to lessen fraud in mail-in voting—



2
  Commission on Federal Election Reform, Building Confidence in U.S. Elections §5.2 at 46
(2005) available at https://www.legislationonline.org-
/download/id/1472/file/3b50795b2d0374cbef5c22976656.pdf.
                                                  5
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signature verification and witness requirements—and mandating the profligate use of unmanned

drop boxes.

          13.     Courts in Wisconsin and Michigan subsequently ruled that such acts were

illegal. See Jefferson v. Dane County, 394 Wis. 2d 602, 951 N.W.2d 556 (Wis. 2020)

(Wisconsin officials, including Governor Evers, unlawfully told Wisconsin voters to

declare themselves “indefinitely confined” -- thereby allowing over two hundred thousand

voters to avoid signature and photo ID requirements). In On February 11, 2022, the

Wisconsin Supreme Court upheld a stay on the employment of unmanned ballot drop boxes

illegally used in the 2020 general election in violation of Wisconsin law. 3 On March 9,

2021, the Michigan Court of Claims ruled that the Michigan Secretary of State unlawfully

required election clerks to presume that voters’ signatures were genuine, which violated

Michigan law. Genetski v. Benson, Case No. 20-000216-MM, slip op. at 14 (Mich. Ct.

Claims, March 9, 2021).

          14.     On March 1, 2022, the Office of the Special Counsel (“OSC”), charged by

Wisconsin Speaker of the Assembly to investigate the allegations of fraud and illegality in the

Wisconsin 2020 general election, issued a damning 136-page Report after an eight-month

investigation. That Report detailed numerous instances of outcome-determinative voter fraud and

felony crimes. The OSC called on Wisconsin’s legislature to decertify its 2020 Presidential

electors.4




3
    https://www.wpr.org/sites/default/files/2022ap91_02-11-22.pdf
4
 The Report of the Office of the Special Counsel can be found at
https://legis.wisconsin.gov/assembly/22/brandtjen/media/1552/osc-second-interim-report.pdf.
                                                    6
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          15.     Following the OSC’s Report, on March 16, 2022, Wisconsin Speaker Vos publicly

stated, “I think there was widespread fraud [in Wisconsin] and I think we are going to see more

and more data that comes out as [the OSC] continues his investigation.”5 (Emphasis added).

          16.     On February 7, 2022, Arizona Representative Mark Finchem introduced Arizona

HCR 2033 to decertify Arizona's 2020 Presidential electors, signed by 13 other State

Representatives and Senators, detailing a myriad of investigatory findings of outcome changing

fraud and illegal votes in Arizona’s 2020 and calling for the decertification of its 2020 Presidential

electors.6

          17.     Notably, Arizona HCR 2033 is based in part on seven-month long forensic audit of

the Maricopa County, Arizona 2020 election which, despite Maricopa County officials having

improperly withheld and deleted 2020 election records, found numerous anomalies and outcome-

determinative illegal votes in the County7 -- contrary to the misleading headline in the media

reports that the audit confirmed Mr. Biden’s win there.

          18.     The Select Committee’s investigation also ignores the conclusion of the National

Academy of Sciences, Engineering & Medicine that “all digital information -- such as ballot

definitions, voter choice records, vote tallies, or voter registration lists -- is subject to malicious

alteration.”8 See also Curling v. Raffensperger, 493 F.Supp.3d 1264, 1280 (N.D. Ga. 10/11/2020)

(finding that “a broad consensus now exists among the nation’s cybersecurity experts recognizing


5
 https://wisconsinexaminer.com/brief/after-meeting-with-election-conspiracists-vos-says-
decertification-impossible-but-reaffirms-belief-in-widespread-fraud/
6
    The Resolution can be found at https://www.azleg.gov/legtext/55leg/2R/bills/HCR2033P.pdf
7
 Cyber Ninjas, Maricopa County Forensic Election Audit, vol. III, at 6, 51, 10, 12-14, 20-21, 25-26, 29-
30, 34-36 (Sept. 24, 2021) available at
https://www.azsenaterepublicans.com/_files/ugd/2f3470_d36cb5eaca56435d84171b4fe7ee6919.pdf.
8
 National Academy of Sciences, Engineering & Medicine 2018, Securing the Vote: Protecting
American Democracy 90 (Nat’l Acad. Press 2018) available at https://doi.org/10.17226/25120.
                                                    7
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the capacity for the unobserved injection of malware into computer systems to circumvent and

access key codes and hash values to generate fraudulent codes and data.”)

       19.     In addition, the Select Committee ignored the findings in a public report

unanimously approved by the Georgia Election Law Study Subcommittee of the Georgia Standing

Senate Judiciary Committee. That report discussed a myriad of voting irregularities and potential

fraud in the Georgia 2020 general election. The Subcommittee unanimously approved the report

on December 30, 2020. The Executive Summary states that “[t]he November 3, 2020 General

Election (the ‘Election’) was chaotic and any reported results must be viewed as untrustworthy”.

Exhibit 4.

       20.     On January 7, 2021, the DNI concluded in an unclassified memorandum that “CIA

Management took actions ‘pressuring [analysts] to withdraw their support’ for findings regarding

China’s actions to “interfere” in the election. John Ratcliffe, Director of National Intelligence,

Views on Intelligence Community Election Security Analysis, at 2 (Jan. 7, 2021). Exhibit The DNI

concluded that the CIA’s actions violated Intelligence Community Tradecraft Standards. Id. The

Committee’s lack of curiosity on such issues involving national security and our elections speaks

volumes.

       21.     These are but a few examples of clear evidence of outcome-determinative

fraudulent or illegal voting in swing states in the November 2020 election that was public both

before and after January 6, 2021. The Select Committee not only deliberately ignores the evidence

but seeks to criminalize the discussion of it.

       22.     As Justice Clarence Thomas observed in Republican Party of Pennsylvania v.

DeGraffenreid, 141 S. Ct. 732, 737 (2021) “the judicial system is not well-suited to address these

kinds of [election fraud] questions in the short time period available immediately after an election



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. . . .” Although the Select Committee has had ample time to investigate such questions, it has

asserted that no evidence of election fraud and illegal voting in the 2020 Presidential election exists

-- illustrating the fact that the Select Committee’s true purpose is to intimidate individuals who

might speak out on this topic, violating their First Amendment rights in the process.

       23.     Ignoring the prospect that the 2020 Presidential election was altered by election

fraud in light of the mounting evidence in support of that claim constitutes a dereliction of

legislative responsibility. Indeed, in stark contrast, some Members of Congress, with virtually no

justification, claimed that the 2016 Presidential election result was altered by collusion between

Russia and the campaign of Mr. Trump. A special counsel was appointed by the Deputy Attorney

General to investigate whether such collusion occurred. After three years and expenditure of more

than $32 million, Special Counsel Robert Mueller reported that no evidence of collusion had been

found. Unlike the Committee’s investigation, the Mueller investigation into possible criminal

activity was conducted by law enforcement officials, not a congressional committee and its staff,

as the Constitution’s separation-of--powers provisions require.

       24.     The governmental efforts to stifle free speech and intimidate anyone who speaks

out on election fraud is not limited to the Select Committee. The U.S. Department of Homeland

Security has taken similar action to intimidate anyone who would expose 2020 election fraud by

issuing thinly veiled threatening “guidance” on “domestic extremism,” which includes

“sociopolitical developments such as narratives of fraud in the recent general election” as a

marker.9



9
 Report available at https://www.dhs.gov/sites/default/files/2022-
03/Report%20to%20the%20Secretary%20of%20Homeland%20Security%20Domestic%20Viole
nt%20Extremism%20Internal%20Review%20Observations%2C%20Findings%2C%20and%20
Recommendations.pdf.


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        25.     On July 28, 2021, the U.S. Department of Justice published “guidance” threatening

states that conduct a forensic audit with criminal prosecution and civil action under federal

statutes.10

        26.     The Office of the Director of National Security issued a report on March 1, 2021,

entitled Domestic Violent Extremism Poses Heightened Threat in 2021. It stated:

        Newer sociopolitical development – such as narratives of fraud in the recent general
        election, the emboldening impact of the violent breach of the US Capitol, conditions related
        to the COVID-19 pandemic, and conspiracy theories promoting violence – will almost
        certainly spur some [domestic violent extremists] to try to engage in violence this year.11

        27.     The Subpoena was issued by Defendant Thompson as Chairman of the Committee.

He is not a neutral and detached party as required by the warrant provision of the Fourth

Amendment.

        28.     In association with others who share Plaintiff’s beliefs about the need for election

integrity, including certain of his clients, and others who share a common interest in pending or

anticipated litigation, Plaintiff has been and continues to be involved in efforts to investigate and

raise awareness of fraud and illegal voting that occurred in the November 2020 election and to

protect the constitutional rights of those who are concerned about such issues. They have been

working together to alert the public and to petition their government for a redress of their

grievances. Plaintiff insists on the right, protected by freedom of the press, to control his own

message and the manner, timing and circumstances of the disclosure of the evidence which he and

others have and continue to assemble about the 2020 election. The Subpoena demands that

Plaintiff place his attorney work product which assembles that evidence into the hands of partisan



10
   https://www.justice.gov/opa/press-release/file/1417796/download.
11
   Report available at
https://www.dhs.gov/sites/default/files/publications/21_0301_odni_unclass-summary-of-dve-
assessment-17_march-final_508.pdf.
                                                 10
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members of Congress who have demonstrated no interest in election fraud, but rather could use

that information strategically by way of selective release, distortion, or other tactics of information

warfare to minimize or defeat the effect its publication by Plaintiff.

       29.     Some who have associated with Plaintiff to assist and inform his exercise of free

speech and political expression have intentionally kept their association with him confidential out

of fear that they will suffer retaliation, harassment, and loss of business or professional

opportunities if their association with Plaintiff is made public.

       30.     Enforcement of the Subpoena would violate Plaintiff’s rights of freedom to

associate with others to advance their shared beliefs, freedom of speech, and freedom of political

expression, which are guaranteed by the First Amendment.

       31.     In conducting its investigation, the Select Committee acted without authority

because it is not validly organized as a House committee under the Rules of the United States

House of Representatives, notably Rule X.5(a)(1) (“The standing committees shall be elected by

the House . . . from nominations submitted by the respective party caucus or conference.”).

       32.     The Select Committee is also acting without authority because it does not satisfy

the requirements of H. Res. 503 that established the Committee and is asserting authority to

investigate matters unrelated to the causes of, and influencing factors contributing to, the events

of January 6, 2021, when it has not been granted that authority.

       33.     The Committee’s investigation constitutes a thinly veiled effort to conduct an

unauthorized criminal investigation by a handful of Members of Congress in violation of the

separation-of-powers provisions of the Constitution and is otherwise not in furtherance of a valid

legislative purpose.




                                                  11
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       34.     Indeed, on March 2, 2022, Defendants Thompson and Cheney issued a statement

concluding that “[t}he facts we’ve gathered strongly suggest that Dr. [John] Eastman’s emails may

show that he helped Donald Trump advance a corrupt scheme to impede the transfer of power.”12

Once the Select Committee reaches such a conclusion, it has a duty to refer the matter,

accompanied by the evidence it has gathered, to the Department of Justice for its investigation, if

warranted. Continued investigation by the Select Committee of the alleged “corrupt scheme” and

“conspiracy to impede the transfer of power” by the Select Committee would violate the

separation-of-powers provisions of the Constitution, which assign the law enforcement function

to the executive branch.

       35.     The Subpoena makes no provision for Plaintiff’s assertion of the attorney-client on

behalf of his clients, which is required by law.

       36.     Accordingly, Plaintiff brings this action seeking declaratory and injunctive relief to

invalidate the Subpoena on constitutional and other grounds and to prohibit the enforcement of the

Subpoena.

                                               PARTIES

       37.     Plaintiff, Kurt B. Olsen, is a resident of the State of Maryland a member of the Bar

of that State, and the District of Columbia.

       38.     Defendant Nancy Pelosi is a Member of the United States House of Representatives

who is currently serving as Speaker of the House and, as Speaker, appointed the members of the

Select Committee.




12
  https://january6th.house.gov/news/press-releases/Thompson-cheney-statement-filing-eastmen-
lawsuit.
                                                   12
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         39.     Bennie G. Thompson is a Member of the United States House of Representatives

who was appointed by Speaker Pelosi to chair the Select Committee. He issued the Subpoena.

         40.     Defendants Elizabeth L. Cheney, Adam B. Schiff, James B. Raskin, Susan E.

Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie Murphy, and Adam D. Kinzinger are

members of the United States House of Representatives who were appointed by the Speaker of the

House to serve on the Select Committee.

                                 JURISDICTION AND VENUE

         41.    The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343

based upon Defendants’ violations of Plaintiff’s constitutional rights, as well as 28 U.S.C. §§2201

and 2202, which provides for declaratory judgments.

         42.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because the

Subpoena was issued in the District of Columbia and the Committee’s investigation is occurring

there.

                                  FACTUAL BACKGROUND

         43.     Following the events at the Capitol on January 6, 2021, Defendant Thompson on

May 14, 2021, introduced H.R. 3233 to establish a National Commission to Investigate the January

6 Attack on the United States Capitol Complex. His bill would have established a bipartisan body

of ten members with an equal number of Democrats and Republicans. The legislative proposal was

approved by the House of Representatives but rejected by the Senate on May 28, 2021.

         44.     After the Senate failed to pass H.R. 3233, Defendant Pelosi, as Speaker of the

House of Representatives, introduced H. Res. 503 to establish the Select Committee. The

resolution was approved by the House of Representatives on June 28, 2021. Unlike the failed H.R.

3233 that assured equal bipartisanship in the membership of a National Commission, H. Res. 503



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directs the Speaker to appoint 13 members to the Select Committee of which only five “shall be

appointed after consultation with the minority leader.”

       45.     The Minority Leader of the House nominated five members of his party to serve on

the Select Committee, but Defendant Pelosi refused to appoint two of the five nominees of the

Minority Leader. Instead, she appointed only nine members to the Select Committee. Two of the

nine were Republican representatives who had voted to approve H. Res. 503 and whose

appointments to the Committee were opposed by the Minority Leader.

       46.     Following Defendant Pelosi’s unprecedented rejection of nominees of the Minority

Leader for membership on the Committee, the Minority Leader declined to participate in the

investigation by the Committee, citing its excessive partisanship, its unprecedented composition,

and the proclaimed preconceptions of the Committee members who had been appointed by

Defendant Pelosi, including members who had voted to impeach President Donald J. Trump and

had publicly accused him of unlawful conduct.

       47.     As a result of Defendant Pelosi’s actions, the Committee, which was to include

eight Democrats chosen by the leadership of their party and five Republicans chosen by the

leadership of their party as H. Res. 503 provided, instead consisted of four vacancies and a

strikingly unbalanced partisan membership of seven Democrats chosen by their party leadership

and two nominal Republicans not chosen by their party leadership but rather by Defendant Pelosi

to produce further imbalance of the membership than H. Res. 503 had provided.

       48.     H. Res. 503 assigns to the Select Committee the responsibility of investigating the

facts, circumstances, and causes relating to the January 6, 2021, breach of the Capitol; identifying,

reviewing, and evaluating the causes of, and the lessons learned from, the events at the Capitol on

that day; investigating influencing factors that contributed to the January 6th events; and issuing a



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final report to the House containing such findings, conclusions, and recommendations for

corrective measures as it deems necessary. The Select Committee is not authorized to conduct any

investigation that is not specified in H. Res. 503.

         49.     Plaintiff was not present during the events that occurred at the Capitol on January

6, 2021.

         50.     As early as the beginning of the Select Committee’s investigation in June 2021, the

Chairman and other members were aware of Plaintiff’s meeting with then-Acting Attorney

General Jeffrey Rosen. Nonetheless, the Committee did not issue the Subpoena until nine months

later on March 1, 2022, with an unreasonable return date for document production of March 15,

2022.

                                             COUNT I
                               Violation of the Fourth Amendment

         51.     Each of the foregoing paragraphs is incorporated as if fully set forth within this

Count.

         52.     The Subpoena cannot be enforced because it violates Plaintiff’s right to the security

of his property and privacy, to be protected against unreasonable searches and seizures, and to the

issuance of a subpoena directed to him by a neutral and detached party, which rights are guaranteed

by the Fourth Amendment.

         53.     The Subpoena was issued by Defendant Thompson as Chairman of the Committee.

         54.     On February 16, 2021, Defendant Thompson filed an action against former

President Trump in the United States District Court for the District of Columbia in which he

asserted that President Trump had committed unlawful acts for which he should be punished.

Thompson v. Trump, No. 1:21-cv-00400 (2/16/2021), ECF No. 1, ¶¶ 8, 132, 141.




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          55.     On January 13, 2021, Defendant Thompson voted to impeach President Trump

based on a House Resolution that stated, among other things, “President Trump repeatedly issued

false statements asserting that the Presidential election results were the product of widespread

fraud and should not be accepted by the American people or certified by State or Federal

officials.”13

          56.     The statement in the Resolution that it is false to assert that “the Presidential

election results were the product of widespread fraud” is contradicted by numerous publicly

available findings made by, inter alia, state legislative representatives, or those acting at legislative

bodies’ direction.

          57.     Defendant Thompson has publicly stated in a televised January 6, 2022, interview

with the Washington Post:

          The Big Lie brought a lot of people to Washington under the guise of stopping the
          steal and they were weaponized at that rally to come to the Capitol and do just what
          they did. And Donald Trump has to be the principal author of what occurred
          because he invited people to Washington on January 6. And he said it was going to
          be wild and indeed it was wild.
                                                 ***
          If you’re seeing the United States Capitol under attack by people who you sent there
          and it takes you 187 minutes for you to say this is wrong, you need to go home, and
          as my vice chair has said, this borders on dereliction of duty and it might just
          necessitate a referral to the Department of Justice to take a look at. So we will not
          just with that but any other instance of we think illegal activity, we will refer – or
          criminal activity – we’ll make a referral. So you can’t just watch TV for 187
          minutes and not expect people to think that you are complicit in what is going on
          by not trying to stop it.14

          58.     The second provision of the Fourth Amendment, the warrant provision, requires

that the decision to issue a warrant or subpoena be made by “a neutral and detached” party.




13
     https://www.congress.gov/bill/117th-congress/house-resolution/24/text.
14
     https://www.youtube.com/watch?y=BCxbcWAOVGQ.
                                                   16
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       59.     The warrant provision is applicable to all searches and seizures except those that

have been permitted as exceptions to the warrant requirement by decisions of the United States

Supreme Court, which exceptions do not include congressional subpoenas.

       60.     Defendant Thompson is not a “neutral and detached” party for purposes of the

warrant provision of the Fourth Amendment.

       61.     The Subpoena violates Plaintiff’s Fourth Amendment rights because it was issued

by a party who was not “neutral and detached.”

       62.     The conjunction of Plaintiff’s right to free association presents a hybrid situation in

which his right protected by the Fourth Amendment and his rights protected by the First

Amendment, as asserted in Count II of this Complaint, reinforce each other, making the

Subpoena’s intrusive demands qualitatively more offensive to the fundamental constitutional

rights and laws that bind the House and its committees.

       63.     The scope of the Subpoena is overbroad and intrusive. It would force disclosure of

private communications between Plaintiff and persons with whom he has associated in pursuit of

shared political objectives without regard for whether those communications relate to the

authorized subject and purposes of the Committee’s investigation. The Subpoena seeks access to

information that Plaintiff has worked with others to assemble detailing fraud in the 2020 election

so that Committee members and opponents of Plaintiff and those with whom he associates. Such

forced disclosure would expose Plaintiff and his associates to harassment and retaliation for the

exercise of their rights to exercise free speech, political expression, free association, freedom of

the press, and to petition their government for the redress of grievances.

       64.     The Fourth Amendment requires that items to be seized must be identified with

particularity. The Subpoena’s language demands the production of not simply documents



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concerning the events of January 6, 2021, but also the production of documents and

communications through the present date categorized only as: Election Fraud Claims, Meetings

with State Officials, and Fee Arrangements. The breadth and generality of such a demand

constitute a plain violation of the Fourth Amendment’s particularity requirement.

         65.     The Subpoena compels the production of records which are the property of Plaintiff

and his clients and for which there has been no showing that they constitute instrumentalities of

crime, the fruits of crime, or contraband. The Subpoena carries a sweeping demand for records

the disclosure of which would cause a substantial and illegal intrusion into the property and privacy

rights of those communicating with Plaintiff and others with whom they have associated to

advance shared beliefs.

         66.     The broad reach of the disclosure requirements of the Subpoena would not pass

constitutional muster in a criminal proceeding and should not be permitted in a congressional

investigation. The Fourth Amendment provides a general right of property and privacy where any

governmental compulsion is involved.

         67.     The Subpoena, therefore, is unenforceable and invalid.

                                            COUNT II
                                Violation of the First Amendment

         68.     Each of the foregoing paragraphs is incorporated as if fully set forth within this

Count.

         69.     Plaintiff’s rights to freedom of speech, press, freedom of association, and freedom

of political expression are guaranteed by the First Amendment.

         70.     The conjunction of Plaintiff’s First Amendment rights and Fourth Amendment

rights presents a hybrid situation in which those rights reinforce each other, making the Subpoena’s




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intrusive demands qualitatively more offensive to the fundamental law that binds the House and

its committees.

          71.     The Subpoena cannot be enforced because it violates Plaintiff’s freedom of speech,

press, freedom of association, and freedom of political expression guaranteed by the First

Amendment.

          72.     The Subpoena violates Plaintiff’s First Amendment right to free association

because its purpose and effect are to identify persons with whom Plaintiff has associated to

advance their shared political beliefs as they relate to the conduct of the 2020 presidential election.

Many of Plaintiff’s associates wish to remain anonymous. The forced disclosure of their identity

and participation in the association would chill and potentially end their willingness to continue

their association with Plaintiff for the advancement of their shared political beliefs.

          73.     The Subpoena violates Plaintiff’s rights of freedom of speech, of political

expression, of association, and of the press because it has the effect of chilling the exercise of those

rights.

          74.     Congress has no general or inherent authority to issue subpoenas for any purpose.

Rather, its subpoena authority is strictly limited to inquiries in furtherance of its legislative

function. Congress’s authority does not extend to inquiries intended to develop information in

support of criminal investigations or prosecutions, to merely bring facts to light, or to harass and

intimidate private citizens or political opponents.

                                           COUNT III
                       Violation of the Constitution’s Separation of Powers

          75.     Each of the foregoing paragraphs is incorporated as if fully set forth within this

Count.




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          76.     From the inception of the Select Committee’s investigation, the Select Committee

and its members have pursued a law enforcement objective of the prosecution of former President

Trump to prevent him from holding political office and to secure the prosecution of his associates,

including Plaintiff, for violations of federal law.

          77.     Every member of the Select Committee voted to impeach former President Trump

on January 25, 2021, for allegedly, inter alia, “repeatedly issu[ing] false statements asserting that

the Presidential election results were the product of widespread fraud and should not be accepted

by the American people or certified by State or Federal officials.”15

          78.     Defendant Raskin served as lead manager of the House prosecution team in the

second Senate impeachment proceeding of former President Trump.

          79.     On March 2, 2022, the Committee filed its Congressional Defendants’ Brief in

Opposition to Plaintiff’s Privilege Assertions in the case of Eastman v. Thompson in the United

States District Court for the Central District of California in which it represented to the court that

the Select Committee had concluded that John Eastman and former President Trump had violated

18 U.S.C. § 371, a criminal conspiracy statute. No. 8:22-CV-00099, ECF No. 164-1 at 57

(C.D.Cal.).

          80.     On information and belief, the Select Committee and its staff have been cooperating

with the U.S. Department of Justice and other law enforcement agencies in the investigation and

prosecution of individuals suspected or accused of criminal offenses in connection with the events

of January 6, 2021, at the Capitol.

          81.     Even if the Committee had the authority to initiate an investigation that led to the

discovery of what the Select Committee considered sufficient evidence to accuse Mr. Eastman and



15
     https://www.congress.gov/bill/117th-congress/house-resolution/24/text.
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President Trump of conspiracy to commit a felony, the Select Committee was not authorized to

continue its investigation of the alleged crime beyond that point but was obligated to refer the

matter to the United States Department of Justice for further investigation, if appropriate. The

Select Committee has no authority to continue its investigation of such alleged criminal activity.

         82.     The Select Committee’s investigation has become, if it had not been from the

beginning, an unconstitutional law enforcement investigation.

         83.     Congress and its committees may not conduct law enforcement investigations

because such investigations violate the separation-of-powers provisions of the Constitution, which

assign the law enforcement and prosecution functions to the executive and judicial branches.

         84.     The investigation of Plaintiff by the Committee is, therefore, a violation of the First

Amendment and must be enjoined.

                                             COUNT IV
                                       Violation of H. Res. 503

         85.     Each of the foregoing paragraphs is incorporated as if fully set forth within this

Count.

         86.     Only a congressional committee that is duly organized by the respective chamber

has the authority to issue subpoenas. The Select Committee fails to qualify as an authorized

congressional committee because it is in substantial violation of the requirements of H. Res. 503,

the purported source of its authority. H. Res. 503 does not grant any authority except to a

committee that meets the conditions established by that resolution. The Select Committee fails to

meet those conditions.

         87.     Defendant Pelosi made the unprecedented decision of refusing to appoint two

members of the House nominated by the Minority Leader to serve on the Select Committee to

represent the Minority.

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       88.     The Committee has also conducted its investigation on the presupposition of its

members that the claims of widespread election fraud in the 2020 Presidential election were not

only false but fraudulent.

       89.     The Select Committee’s insistence that claims of election fraud create mistrust

about the election itself and “undermine our democracy” reveals a bias that caused the Select

Committee to ignore mounting evidence that the 2020 election in fact was affected by widespread

fraud creates mistrust of our electoral process and undermines our democracy.

       90.     The Select Committee’s failure to this date to conduct any serious investigation of

whether the claims of election fraud were accurate, coupled with the statements of Committee

members that those claims are baseless and fraudulent, demonstrate a profound bias.

       91.     The public was led to believe by statements of Select Committee members that it

was established to develop the complete story of the events of January 6, 2021, and the causes of

those events. The Select Committee, however, has chosen not to reveal extensive surveillance

videotapes of those events that would contribute to the development of a complete story.

Statements in the Select Committee’s court filings that there is no evidence of outcome-

determinative fraud or illegal voting in the 2020 Presidential election also demonstrates that it has

no intention of developing a complete story. Eastman, No. 8:22-cv-00099, ECF No. 164-1 at 20-

22.

       92.     The possibility that election fraud may have altered the outcome of the 2020

Presidential election was so inconsistent with the preconceived assumptions of Select Committee

members that its investigation from the outset was unbalanced and not in compliance with the

directives in H. Res. 503.




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         93.      The Select Committee’s refusal to conduct its investigation in accordance with the

directives in H. Res. 503 makes the investigation an unauthorized and ultra vires undertaking.

         94.      The Subpoena demands information related to events that occurred after January 6,

2021, and, therefore, unrelated to the events of that day. Such a demand is beyond the scope of the

investigation that H. Res. 503 authorizes.

         95.      Accordingly, the Select Committee’s investigation of Plaintiff must be declared

outside of its authority and the Subpoena unenforceable.

                                             COUNT V
                                 Violation of the Rules of the House

         96.      Each of the foregoing paragraphs is incorporated as if fully set forth within this

Count.

         97.      The Subpoena is invalid because it was issued in violation of the Rules of the United

States House of Representatives, particularly Rule X.5(a)(1), which requires bipartisanship in the

appointment of House committees. This requirement is designed to prevent abuses by committees,

particularly when an excess of partisanship would violate the fundamental rights of citizens with

whom the committees engage.

         98.      The Select Committee is not a committee authorized pursuant to the Rules of the

House of Representatives to issue subpoenas because it was not established in compliance with

those Rules.

         99.      None of the members of the Select Committee was nominated by the Minority

Leader of the House of Representatives.

         100.     Each member of the Select Committee has publicly revealed a personal view that

the outcome of the Committee’s investigation is predetermined.




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         101.     The violations of the Rules of the House of Representatives go to the very

legitimacy of the Select Committee and render its investigation and the issuance of the Subpoena

ultra vires.

                                         COUNT VI
                             Absence of Legitimate Legislative Purpose


         102.     Each of the foregoing paragraphs is incorporated as if fully set forth within this

Count.

         103.     Issuance of the Subpoena by Chairman Thompson was ultra vires because it was

not in furtherance of a legitimate legislative purpose.

         104.     The Subpoena purports to be a legislative subpoena. Congress has no inherent or

general power to issue subpoenas but may do so only in furtherance of a legitimate legislative

purpose. A legislative subpoena must be issued in furtherance of a legitimate legislative purpose.

         105.     A legislative subpoena cannot qualify as a legitimate exercise of legislative power

merely by virtue of the appropriateness of the investigation that being pursued. A legislative

subpoena may be improper even when issued in the course of an otherwise proper congressional

investigation. Each legislative subpoena must be assessed individually, to determine whether the

information it demands is sought in furtherance of a legitimate legislative purpose.

         106.     The Select Committee has no authority to require the production and disclosure of

the identities and the private communications of individuals who did not have any involvement in

the January 6, 2021, events at the Capitol or who have no reasonable nexus to the authorized scope

of the Committee’s investigation.

         107.     Exposing private communications for the mere sake of exposure, which is the

purpose and effect of the Subpoena, does not justify the issuance of a legislative subpoena.



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         108.     Enforcement of criminal laws, which is a peculiar function of the Executive Branch,

does not justify the issuance of a legislative subpoena. The U.S. Department of Justice has special

rules governing the issuance of subpoenas directed to attorneys given the inherent dangers posed

to the judicial system and fundamental constitutional rights by such subpoenas. See U.S.

Department of Justice Manual 9-13.410.

         109.     The Subpoena is unauthorized, invalid, and unenforceable because it has no

legitimate legislative purpose. The information it seeks is calculated to expose information for the

mere sake of exposure, to discover the identity, tactics, and organization of citizens outraged by

the 2020 election fraud, to harm the Committee’s political opponents, to assist ongoing criminal

investigations and prosecutions by the U.S. Department of Justice, to inflict harm upon Plaintiff

and those he has associated with to exercise constitutional rights, and most of all to obtain partisan

political advantage. None of these are legitimate purposes for a legislative subpoena.

                                           COUNT VII
                        Assertion of Attorney-Client Privilege and Attorney
                            Work Product Protection Must Be Assured

         110.     Each of the foregoing paragraphs is incorporated as if fully set forth within this

Count.

         111.     In the alternative, even if the Subpoena were properly issued, it improperly requires

the production of records of private communications without providing an opportunity for Plaintiff

to review those records to determine whether they involve privileged attorney-client

communications or are subject to protection under the attorney work product doctrine.

         112.     Recipients of congressional subpoenas retain their right to assert al common law,

statutory, and constitutional privileges. Plaintiff is entitled on behalf of his clients to assert any




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applicable privileges and constitutional rights regarding communications covered by the

Subpoena’s requirements.

       113.     To the extent the Subpoena requires production of documents and testimony

regarding communications covered by the Subpoena without allowing review by Plaintiff and his

clients for attorney-client privilege and attorney work product protection and an opportunity to

assert objections, the Subpoena is invalid and unenforceable.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment in his favor and against

Defendants, and order the following relief:

       a. Entry of a declaratory judgment that the Subpoena violates Plaintiff’s right to property

and privacy guaranteed by the Fourth Amendment because defendant Thompson, who issued the

Subpoena, was not a neutral and detached party and the Subpoena is overbroad;

       b. Entry of a declaratory judgment that the Subpoena violates the right to free speech,

political expression, free association, and petition for redress of grievances guaranteed to Plaintiff

by the First Amendment;

       c. Entry of a declaratory judgment that the actions of Defendant Thompson in issuing the

Subpoena and of the Select Committee in conducting its investigation were unlawful, invalid, and

ultra vires because the Select Committee is organized and is functioning in violation of the Rules

of the United States House of Representatives;

       d.       Entry of a declaratory judgment that the Select Committee fails to meet the

requirements of House Resolution 503, by which it was established and, therefore, lacks authority

to enforce the Subpoena and to conduct its investigation;




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          e.     Entry of a declaratory judgment that the Subpoena is invalid and unenforceable

because it does not serve a legitimate legislative purpose;

          f.     Entry of an order quashing the Subpoena as unlawful and invalid and prohibiting

its enforcement;

          g.    Entry of an order granting Plaintiff the opportunity to assert appropriate attorney-

client privilege and attorney work production claims in response to the Subpoena;

          h.     An award of costs and attorneys’ fees incurred in this proceeding;

and

          i.     Such other relief as the Court deems just and proper.



                                         VERIFICATION

          I swear and verify under penalty of perjury pursuant to 28 U.S.C. §1746 that the

foregoing statements of fact are true and correct to the best of my knowledge, information, and

belief.



Dated: March 23, 2022                          _____________________________________
                                                           Kurt B. Olsen




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DATED: March 23, 2022.             By______________________________________
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